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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                       :     Crim. No. 05-796(1)(FSH)

       v.                                      :

CAESAR LIMATOLA,                               :     ORDER

               Defendant.                      :

       This matter having come before the Court on the Report and Recommendation of the

United States Magistrate Judge filed in this matter, which was submitted as a result of this Court

having referred this cause to the Magistrate Judge for the purpose of conducting a plea

proceeding under Fed. R. Crim. P. 11; and the defendant having consented to the Magistrate

Judge conducting the guilty plea proceeding; and the Court having reviewed the Report and

Recommendation, as well as the transcript of the proceedings on September 25, 2006; and there

being no objection to the Report and Recommendation timely filed pursuant to 28 U.S.C. 636(b);

and the Court finding the Report and Recommendation is neither clearly erroneous nor contrary

to law; and the Court hereby finding that the Report and Recommendation should be approved

and adopted and the defendant’s guilty plea accepted,

       IT IS ON THIS 17th day of October, 2006,

       ORDERED that the Report and Recommendation of the United States Magistrate Judge

is approved and adopted; and

       IT IS FURTHER ORDERED that the defendant’s guilty plea is accepted and a judgment

of guilt to the Indictment shall be entered.


                                                     /s/ Faith S. Hochberg
                                                     UNITED STATES DISTRICT JUDGE
